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AO 9} (Rev. L111) Criminal Complaint IS DISTRICT co
UNITED STATES DISTRICT COURT D
for the MAR 12 2020
Western District of Arkansas DOU
: GLA
Fort Smith Division By SF. YOUNG, Clerk
Deputy Clerk

United States of America
Vv.
Jason D’ Juan Garfield

 

Case No. 2 ‘20 “Oy -200¢-00]

 

ee

Defendant
CRIMINAL COMPLAINT

I, the Complainant in this case, state that the following is true to the best of my knowledge
and belief.

On or about the date of February 16, 2020, in the county of Johnson, in the Western District
of Arkansas, Fort Smith Division, the Defendant, JASON D’JUAN GARFIELD, knowing that he
had been committed to a mental institution, and who was subject to a Court Order issued by the
Johnson County, Arkansas Circuit Court on December 16, 2015, after a hearing of which he
received actual notice, and at which he had an opportunity to participate, restraining him from
harassing, stalking, or threatening an intimate partner, or engaging in other conduct that would
place an intimate partner in reasonable fear of bodily injury, did knowingly possess one or more
firearm(s) which had been shipped and transported in interstate commerce, in violation of 18
U.S.C. §§ 922(g2)(4) and (8).

This criminal complaint is based on these facts:

gw Continued on the attached sheet.

 

Ryan Crump. FBI Special Agent

Printed name and title

Sworn to before me and signed in my presence. Vad
Date: aliz[20 Es Gor

 

Judge's signature

City and State: Fort Smith, Arkansas Mark LE. Ford, United States Magistrate Judge

Printed name and title
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AFFIDAVIT IN SUPPORT OF A COMPLAINT

I, the undersigned, being duly sworn, depose and say as follows:

1. I, Ryan Crump, hereafter referred to as “Affiant,” am a Special Agent (SA) of the
Federal Bureau of Investigation (FBI). Affiant has been a Special Agent of the FBI since January
2018. Affiant is currently assigned to the FBI Little Rock Division and has been assigned as such
since January 2018.

2. During my career as a Special Agent, I have been involved in a variety of
investigative matters, including international and domestic terrorism matters. During the course
of these investigations, I have assisted with Title III wire intercept affidavits, participated in the
execution of search and arrest warrants, conducted physical surveillance, participated in controlled
meetings with confidential sources, and communicated with other local and federal law
enforcement officers regarding the manner in which those engaged in domestic terror activities
conduct their business.

3. I am an investigative or law enforcement officer of the United States within the
meaning of Section 2510(7) of Title 18, United States Code, and I am empowered by law to
conduct investigations of and to make arrests for offenses enumerated in Section 2516 of Title 18,
United States Code.

4. Except as otherwise noted, the statements contained in this Affidavit are based in
part on information provided by law enforcement officers and my experience as a FBI Special
Agent. Unless otherwise noted, wherever in this Affidavit I assert a statement was made or the
information was provided by another law enforcement officer, the officer in question may have
direct or hearsay knowledge of the subject matter of the statement. I have not set forth all of the

facts uncovered during this investigation in preparing this Affidavit.

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5. I make this Affidavit in support of a Criminal Complaint concerning federal felony

offenses enumerated in Title 18, United States Code, Sections 922 (g)(4) and (8).
FACTS ESTABLISHING PROBABLE CAUSE

6. On February 16, 2020, FBI surveillance observed Jason D’Juan GARFIELD at a
gun show at the Arkansas State Fairgrounds located at 2600 Howard Street, Little Rock, Arkansas.
FBI surveillance observed GARFIELD purchase a firearm from an individual at the gun show.

7. An FBI Task Force Officer interviewed the seller, who advised that GARFIELD
purchased a Springfield, .45 caliber pistol, serial number WW57358, from his/her booth.

8. A security officer for the gun show was also interviewed, and stated that as
GARFIELD was exiting the gun show, he/she examined a firearm in GARFIELD’s possession
and confirmed it was a pistol bearing serial number WW57358.

9. FBI Surveillance then observed GARFIELD leave the gun show, enter the
passenger side of a parked vehicle, stop briefly at the Shell gas station located at 3100 John F.
Kennedy Blvd. in North Little Rock, Arkansas, until finally arriving at a Walmart located at 230
Market Street, Clarksville, Arkansas, which is in the Western District of Arkansas, Fort Smith
Division. GARFIELD did not exit the vehicle when it stopped at the gas station.

10. On March 12, 2020, Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF)
Special Agent Tony McCutcheon was provided the information for the Springfield Armory, .45
caliber pistol, serial number WW57358. Based upon that information, SA McCutcheon was able
to determine that this firearm was not manufactured in the State of Arkansas. Thus, if that firearm
was possessed in the State of Arkansas, it had to have traveled in and/or effected interstate

commerce as defined in Title 18, United States Code, Section 921(a)(2).

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11. On November 10, 2015, a licensed professional counselor, filed a petition to
involuntarily commit GARFIELD stating that he was “a clear and present danger to
himself/herself or others.”! That same date, a Johnson County, Arkansas Circuit Judge issued a
Pick-Up Order to transport GARFIELD to court for a hearing set for November 12, 2015.

12. On November 11, 2015, a Johnson County, Arkansas Sheriff's deputy served
GARFIELD with a Summons, Statement of Rights, and Petition.

13. On November 12, 2015, after a hearing, the Court entered an order finding
GARFIELD “poses a clear and present danger to himself/herself or others,” and involuntarily
committing GARFIELD to a facility for seven days for evaluation. GARFIELD was present for
the hearing and represented by counsel.

14. On November 17, 2015, GARFIELD’s mother filed a Petition for Order of
Protection and an accompanying affidavit seeking an order of protection against GARFIELD.’ In
the affidavit, GARFIELD’s mother stated that on November 9, 2015, GARFIELD told her, “If
anyone comes to take me away I’m going to slit your fucking throat you worthless piece of shit.”
GARFIELD’s mother also stated, “[GARFIELD] has physically assaulted me less than a year
ago and has made threats on my life regularly since the attack.”

15. On November 20, 2015, a Johnson County, Arkansas Sheriff's deputy personally
served GARFIELD a copy of the petition, ex parte order of protection, summons, and warnings.
In the warnings it stated, “It is a federal offense for an individual who is subject to a Final Order
of Protection or convicted of a misdemeanor of domestic violence to ship, transport, or possess a

firearm or ammunition pursuant to 18 U.S.C. §922(g)(8) and (9).”

 

' Johnson County, Arkansas Circuit Court Case No. 36-PR-15-185.
2 Johnson County, Arkansas Circuit Court Case No. 36-DR-15-279.

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16. On December 16, 2015, the Johnson County, Arkansas Circuit Judge, after a
hearing, entered a Final Order of Protection. The Court stated GARFIELD had “been provided
with proper notice and the opportunity to be heard,” and found GARFIELD’s mother was “in
immediate and present danger of domestic abuse.” The Order is effective until December 16, 2025.

17. Based upon the above and my training and experience, your Affiant believes there
is probable cause to believe that on or about February 16, 2020, Jason D’Juan GARFIELD
possessed a Springfield Armory, .45 caliber pistol, serial number WW57358, in violation of Title
18, United State Code, Sections 922(g)(4) and (8), in the Western District of Arkansas, Fort Smith
Division.

DATED this 12" day of March, 2020.

Ure. TO
Ryan Crum, — US
Special Age
Federal Bureau of Investigation

Subscribed and sworn to before me this 12" day of March, 2020.

Ubael & rl

Honorable Mark E. Ford
United States Magistrate Judge

 

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